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    Via electronic delivery only

    DATED: October 19, 2023

      Re.: 3:23-cv-03531-JSC Kamath v. United States Department of
      Homeland Security et al Case Management Conference – Initial; and
      Further Proof re the Letter in DKT # 19.


    To Whomsoever it may concern:

              In reply to the docket entry of the Court, DKT # 20, and to the prior letter,

DKT # 19, there was timely check-in and log-in. However, the Court did not allow Plaintiff

RESHMA KAMATH to appear. Then, DKT #20 states that there was no appearance.

However, Plaintiff RESHMA KAMATH had logged in as per EXHIBIT A effort made with

no check-in from waiting room to appearance.



Sincerely,




RESHMA KAMATH,
PLAINTIFF, IN PROPRIA PERSONA




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                EXHIBIT A
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